                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NORTHEASTERN DIVISION

DANIEL GENE BOZE, et al.,              Case No. 2:21-cv-00002

                 Plaintiffs,
                                       Hon. Waverly D. Crenshaw, Jr.
v.                                     Magistrate Judge Alistair Newbern

GREAT AMERICAN
INSURANCE COMPANY,

                Defendant.

     GREAT AMERICAN INSURANCE COMPANY’S REPLY TO PLAINTIFFS’
            RESPONSE TO DEFENDANT’S MOTION TO DISMISS




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                                       I. STANDARD OF REVIEW

        Plaintiffs are correct that the Complaint must be deemed true and construed in the light

most favorable to them. (Doc. 63 at Pages 1-2). However, Plaintiffs embellished, misquoted, and

mischaracterized the Arbitrator’s Award in several instances in their Complaint.1 The Court

should look to the Award (Doc. 1-3), not just the Complaint, for the arbitrator’s findings.

      II. THE PLAINTIFFS’ CAUSES OF ACTION AND FEDERAL PREEMPTION

        A. Plaintiffs’ Complaint Allegations Contradict the Underlying Arbitration Award.

        Plaintiffs falsely assert in their Response (Doc. 63, pp. 3-4) that they “detailed in [their]

Complaint” and that the Arbitrator “concluded” that the federal Loss Adjustment Manual

“required [Great American] to at least reconvene the decision-making claims personnel to re-

assess their initial assignment of 100 percent of the losses to uninsured causes after losing on

three of the four grounds for that assessment.” But nothing in the Award or the Complaint2 says

that, nor do either of the Award or Complaint identify or allege any procedure that required it.3

        Regarding other area tobacco loss determinations, Plaintiffs correctly note that Great

American reversed its loss determinations for two unrelated policyholders after RMA reversed a

single-issue GFP determination regarding usage of muriate of potash. (See Doc. No. 63 at p. 4;

see Doc. 1 at ¶24, quoting Award ¶¶ 26-29.). However, with the Boze claims, muriate of potash



1
  The Award is attached to the Complaint as Doc. 1-3. Award ¶¶ 50, 83, and 88 are misquoted and embellished in
the Complaint (Doc. 1 at ¶24); Award ¶21 is also misquoted in the Complaint. Plaintiffs also incorrectly assert in
their Response that they “successfully appealed GAIC’s GFP determination” (Doc. 63, p. 2), ignoring that the
Award itself confirms that RMA decided against Plaintiffs’ appeal of the determinative issue later taken to
arbitration. See the Award (Doc. 1-3) at p. 5, ¶¶ 19-23.
2
  Plaintiffs allege in Complaint ¶19 (Doc. 1) that Great American “did not reconvene its claims staff” to reconsider
its loss assessment (which Great American denies), but they do not allege that any contract term, handbook, or other
authority required it to do so.
3
  The National Appeals Division Director Review Determination denying Plaintiffs’ request for a 20(i)
determination is currently under review by this Court in Case No. 2:23-cv-00068 as Plaintiffs noted on Page 14 of
their Response (Doc. 63, Page 14). Great American was not a party in the NAD Appeal with standing to appeal its
outcome and is not a party to that District Court case. USDA, RMA, and FCIC have not yet answered in that case.
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usage was but one of the several, original, independent GFP concerns (and ultimately a non-

factor). RMA agreed with Great American “that the [Bozes] ‘did not follow good farming

practices because they failed to implement appropriate [post-emergence] weed control

measures’” (Doc. 1, ¶17 on p. 5), and Great American could not accurately quantify the Bozes’

weed control failures into production losses, so it could not determine a loss. (Doc. 1 at ¶24,

quoting Award ¶49.) Plaintiffs suggest Great American should have re-determined Plaintiffs’

claims after learning of a different insurer paying their relative Joe Darren Boze’s tobacco claim

on nearby ground. But even if that might matter, there is no allegation of Joe Darren Boze having

similar GFP or weed control problems or similar circumstances, and the Bozes first provided his

information years after the fact, during the arbitration. (Doc. 1 at ¶24; quoting Award ¶¶30-34).

        B. The Arbitrator’s Findings Do Not Support the Plaintiffs’ Claims.

        The Award does not include any actual Arbitrator finding that Great American did not

follow required procedures. MPCI BP ¶20(d)(1)(ii) states that an arbitrator resolves

disagreements regarding production assigned to uninsured causes, but MPCI BP ¶20(a)(i)

expressly excludes disputes over whether or how procedures apply from what an arbitrator is

authorized to decide. (Doc. 1-2, Page 34.) The Bozes agreed to arbitrate disputes over assigned

production and Great American does not have the authority to waive that requirement.

(Preamble, Doc. 1-2, Page 2.). Plaintiffs do not allege any specific breach of their policies or

procedure, and they received exactly what they were due under their policies.

        C. Plaintiffs’ Claimed Available Remedies Do Not Apply to Plaintiffs’ Claims.

        In FAD-240 and again in FAD-251, FCIC4 confirmed that the Plants court decisions5



4
 FCIC Final Agency Determinations bind all crop insurance program participants. See 7 CFR §400.765(c) (2018).
5
 See Plants, Inc. v. Fireman's Fund Ins. Co., 2012 Tenn. App. LEXIS 561 (Tenn. Ct. App. Aug. 13, 2012); see also
Plants, Inc. v. Fireman's Fund Ins. Co., 2012 Tenn. App. LEXIS 562 (Tenn. Ct. App. Aug. 13, 2012).
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upon which the Plaintiffs rely were incorrectly decided. FCIC says extra-contractual damages

claims are specifically preempted by and subject to MPCI BP ¶20(i) and related regulations. See

FAD-240 (Doc. 59-5, p. 3) and FAD-251 (Doc. 59-6, p. 3).

        Even if the FCIC-identified flaws in the Plants cases and the other similar cases Plaintiffs

cite (Pelzer; Dixon) were ignorable, those cases do not support Plaintiffs’ claims because they all

concerned actions unrelated to an actual policy or which preceded it, not suits under a policy or

related to it or to claims handling. The Plants court found that “state court claims for negligence,

misrepresentation, and fraud” based on actions “taken prior to the agreement being made or that

occur outside the scope of the policy” were not preempted (Plants, Inc. sought damages from

actions before a policy was in place which caused it to be under-insured). Plants, Inc. v.

Fireman's Fund Ins. Co., No. M2011-02063-COA-R3-CV, 2012 Tenn. App. LEXIS 562 at *33

(Ct. App. Aug. 13, 2012). Pelzer was decided under similar factual circumstances, with the

policyholder arguing that the agent gave erroneous pre-application information. Pelzer v.

ARMtech Ins. Servs., 928 F. Supp. 2d 1071, 1073-1074 (E.D. Ark. 2013). And in Dixon v.

Producers Agric. Ins. Co., 198 F. Supp. 3d 832, 838, n. 9, 10, 11 (M.D. Tenn. 2016), this same

Court considered crop insurance preemption and FADs-240 and 251.6 The Dixon court agreed

that “[i]n order to avoid preemption, Plaintiffs must show damages that are unrelated the

insurance policy because federal law preempts state-law claims regarding issues that involve a

policy or procedure interpretation.” Dixon at 841. These cases allowed suits over pre-policy

misrepresentations or negligence, but not those concerning a policy or claim or related matters.

The Bozes complain of actions Great American took after coverage attached which were directly

related to their policies. Thus, the cases they cite do not support their position.


6
 Plaintiffs’ Response selectively misconstrues that decision, quoting its Fn. 9, in which the Court quoted its own
earlier opinion in the case which preceded those FADs, rather than from the newer decision which followed them.
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       D. The Causes of Action Pled in Plaintiffs’ Complaint

          1. Count I – Judicial Review

       Section 20(i) plainly preempts damages awards against an insurer unless FCIC chooses to

lift the preemptive shield. Nothing within 20(i) creates a new state or federal tort claim.

          2. Count II – Breach of Contract

       Plaintiffs have invented imaginary findings the Arbitrator did not actually make which

they contend support their baseless Breach of Contract claim. They baldly assert in their

Response that “Arbitrator Russell specifically found … GAIC did not apply the procedures

outlined in the handbooks and manuals,” and that he “concluded [Great American] failed to

follow these clear and unequivocal mandates.” (Doc. 63, p. 16). Yet Plaintiffs do not cite where

to look in the Award for those findings, because they do not exist. (See Doc. 1-3.) The Award

demonstrates contract processes and procedures being followed, and a disagreement which an

Arbitrator resolved in accord with contract requirements, allowing final claim decisions to be

reached and claims determined and paid in fulfillment of the contract. Where is the breach?

          3. Count III – Tennessee Common Law Bad Faith

       The Bozes concede that Tennessee does not recognize a tort of bad faith independent of

the contract between the parties. Plaintiffs invoke some creative references to the “bad faith

genie” and Section 20(i) in their Response but cite no legal authority supporting such a claim.

          4. Count IV – Tennessee Statutory Bad Faith

       Plaintiffs misconstrue what MPCI BP ¶14(f)(4) says as to when an indemnity is due and

payable. Here, the indemnity payments first became due and payable under ¶14(f)(2) only after

the GFP appeals and the contractually required disagreement resolution processes concluded

(Doc. 1-2, p. 23). No one challenged the Award, so the claims were paid immediately. If Great


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American had contested the Award, which MPCI BP ¶¶ 14(f)(2) and 20(c) expressly permit, then

the pay-after-a-judgment condition might apply. But not here.

       Also, Plaintiffs’ allegations in Complaint ¶¶61-62 establish only that they made payment

demands through counsel, not that indemnities were actually due and payable. Under the policy

terms, until the Award issued, they were not due. After it, they were. And they were paid then,

exactly when the policy required it. While factual allegations are accepted as true when

considering a motion under Rule 12(b)(6), legal conclusions or unwarranted factual inferences

are not accepted as true. Morgan v. Church's Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987).

          5. Count V – Tennessee Common Law Tort Claims

       As discussed above, FCIC agreed in FAD-240 that the Plants court got the policy wrong;

and here, the Bozes’ claims all relate to Great American’s alleged actions (or non-actions) under

the policy, so even under Plants, the Bozes claims are specifically preempted by the policy

provisions, 7 CFR §400.352, and 7 CFR §400.176. Moreover, Plaintiffs are not claiming that

negligence occurred outside the policy in a way which affected or reduced their expectation of

coverage in the manner for which Plants or Dixon might suggest relief outside the contract could

be available; rather, they concede they got exactly the coverage and indemnities they expected.

                                       III. CONCLUSION

       It seems apparent that Plaintiffs’ true complaint is with the federally imposed, non-

waivable policy contract terms that they agreed to and the amount of time the policy’s claim and

disagreement-resolution processes can sometimes take before a claim is truly finalized and

payment is due. Those are things that policymakers might be able to address, but it not

something this Court can remedy. Great American hereby respectfully requests that the Court

dismiss Plaintiffs’ Complaint, as to all Counts asserted.


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                                               Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he served a copy of the foregoing through the
Court’s Electronic Case Filing System (CM/ECF), upon Plaintiffs’ attorney, Wendell L. Hoskins
II, Law Office of Wendell L. Hoskins II, 404 Ward Ave., P.O. Box 1115, Caruthersville, MO
63830 (Wendell@WendellHoskins.com), this 22nd day of February 2024.

                                           s/ Thomas C. James, Jr.
                                           Thomas C. James, Jr.




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